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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

                                                                   Order Filed on August 8, 2022
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                                                                   District of New Jersey
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     Counsel for Movant Anthony Hernandez Valadez
     In Re:
                                                             Chapter 11
     LTL MANAGEMENT LLC,
                                                             Case No. 21-30589 (MBK)
             Debtor.

             ORDER GRANTING LIMITED RELIEF FROM THE AUTOMATIC STAY

     The relief set forth on the following pages, numbered two (2) and (3), is hereby ORDERED.

DATED: August 8, 2022




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 STAY
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          THIS MATTER having been opened to the Court by Anthony Hernandez Valadez, by

 and through his counsel the law firm of Kazan, McClain, Satterley & Greenwood, A Professional

 Law Corporation (“Kazan Law”), and local counsel Saiber LLC, for the entry of an order

 granting Movant relief from the Order (I) Declaring That Automatic Stay Applies to Certain

 Actions Against Non-Debtors and (II) Preliminarily Enjoining Certain Actions [Dkt. 1635; Adv.

 Pro. No. 21-3032, Dkt. 187] (the “PI Order”) as to non-debtors Johnson & Johnson (“J&J”),

 Johnson & Johnson Consumer Inc. (“New JJCI”), and retailers Albertsons Companies, Inc.,

 Lucky Stores, Inc., Safeway Inc., Save Mart Supermarkets, Target Corporation, and Walmart

 Inc. (collectively, “Retailers” and with New JJCI and J&J, the “Protected Parties”) pursuant to

 Section 362(d)(1) of the Bankruptcy Code, and waiving the fourteen day stay under Federal Rule

 of Bankruptcy Procedure 4001(a)(3) (the “Motion”) [Dkt. 2348], and the Court having

 considered the Motion, the opposition filed on behalf of LTL Management LLC (the “Debtor”)

 [Dkt. 2429], the reply filed on behalf of Mr. Valadez [Dkt. 2469], and the joinder in support of

 the Motion [Dkt. 2484], and having heard the statements of counsel and evidence adduced with

 respect to the Motion at hearings held on June 14, 2022 and July 26, 2022 (together,

 the “Hearings”); the Court having ruled at the June 14, 2022 hearing that Mr. Valadez was

 permitted to file a complaint to initiate an action, as defined in the Motion (the “California

 Action”), against the Protected Parties, and that, upon the filing of any such complaint, no action

 was required by any defendant named in such complaint pending a further ruling from the Court;

 and for the reasons set forth on the record at the Hearings and a hearing held on July 28, 2022;




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           IT IS HEREBY ORDERED, ADJUDGED AND DECREED that:

           1.      The Motion is granted in part and denied in part.

           2.      Movant Anthony Hernandez Valadez, having been authorized by this Court to

 commence a personal-injury lawsuit in the Superior Court of California, County of Alameda, be

 and hereby is granted relief from the automatic stay and the PI Order to permit Mr. Valadez to

 conduct such discovery as necessary to preserve evidence pertinent to Mr. Valadez’s claim that

 may otherwise be lost or destroyed, including, but not limited to Mr. Valadez’s pathology

 materials. Movant Anthony Hernandez Valadez be and hereby is also granted relief from the

 automatic stay and the PI Order to make any appropriate motion immediately in the California

 Action required to obtain an expedited trial date or priority in the event that the Third Circuit

 Court of Appeals reverses this Court’s order denying the motion to dismiss the bankruptcy case

 [Dkt. 1603] and the case is dismissed.

           3.      The stay set forth in Rule 4001(a)(3) of the Federal Rules of Bankruptcy

 Procedure shall not apply to this Order and the Order shall be effective immediately.

           4.      Except as expressly provided herein, all provisions of the PI Order shall remain in

 effect.

           5.      The Debtor is authorized to indemnify and pay the Protected Parties for their costs

 associated with discovery authorized by this Order.

           6.      The Court shall retain jurisdiction to hear and determine all matters arising from

 or related to the implementation, interpretation and/or enforcement of this Order, including with

 respect to the scope of the relief granted by this Order.




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